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                                Frederick Equipment List

              Name                         Model.        Serial Number
   Chisel Plow                  Krause 20 ft
   Corn Planter                JD177ONT 12 row       A01770W725261
   Cultipacker                  Brillion 25 ft  —        —_____________________




   Disc                         Krause 24ft
   Dump Truck                   1993 Ford Ui 9000-   1FDZA9OX4PVA25384
   Dump Truck                   1987 International   S14HCAJO391
   Dump Truck                   1995 Volvo           4V2JCBMD15R833788
   Forage                       International 600
                                Blower
  Forage Harvester             JD7300                Z07300X507659
  Forage Table                  Balzer               3460G
  Front End Loader             JD 544K               1DW544KZLCE650174
  Grain Auger                  Westfield 10-51       157747
  Grain Drill                  JD1560 15 ft          1560X690695
  Grass Head                   JD                    CC630AX053855
  Hay Merger                   Victor                625772-200159
  HayRake                       KuhnSR600          1A0052
  HayTedder                    JD                    E00754A63218
  Haybine                      JDR450                1EOR4SOXPDD391O61
  Large Square Baler            Kuhn 890L5B          VGNB000032
  Liquid Manure Tanker          Houle 6300 Gallon    1801-065804-486D5250
  Livestock Trailer             EBY 20 ft
  Manure Lagoon Pump           Houle 42 ft           -




  Manure Spreader              Kuhn 1150 Box
  Plow-Chisel                  JD 14 ft
  Silage Blade                 Leon 12 ft
  Skid Loader 1                Bobcat 570
  Skid Loader 2                Bobcat 175
  TMR Mixer                    Kuhn 3160
  Toolcat                      Bobcat 5600
  Tractor 1                    JD4630                4630T021362R
  Tractor 2                    JD8400                RW8400P010225
                                                   I
  Tractor 3                    JD7710                R0T7710023188
  Tractor 4                    JD4960                RW4960P006613
  Tractors                     iD4020 Power Shift    SNT213P133216R
  Tractor 6                    JD4020 Synchro
                               Range




                               EXHIBIT A
